       Case 2:12-md-02323-AB Document 11614 Filed 01/27/22 Page 1 of 5




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: NATIONAL FOOTBALL LEAGUE
 PLAYERS’ CONCUSSION INJURY LITIGATION


 Kevin Turner and Shawn Wooden, on behalf of
 themselves and others similarly situated,
                                                            No. 2:12-md-02323-AB
                                     Plaintiffs             MDL No. 2323

               v.

 National Football League and NFL Properties, LLC,
 successor-in-interest to NFL Properties, Inc.,

                                     Defendants.


 THIS DOCUMENT RELATES TO:
 ALL ACTIONS



    INTERVENORS’ JOINDER TO MOTION OF THE NFL PARTIES AND CLASS
           COUNSEL TO APPROVE MODIFICATIONS TO THE NFL
     CONCUSSION SETTLEMENT AGREEMENT PURSUANT TO SECTION 6.6

       Intervenors Kevin Henry and Najeh Davenport, through undersigned Intervenors’ Counsel,

join the NFL Parties’ and Class Counsel’s Motion to Approve Modifications to the NFL

Concussion Settlement Agreement Pursuant to Section 6.6 (the “Norming Agreement”). ECF

11567. The Norming Agreement is a significant achievement resulting from arms-length

negotiations conducted under the careful guidance of the Court, Magistrate Judge Strawbridge and

Special Master Hoffman. Intervenors enthusiastically support approval of the Norming Agreement

as it offers enormous benefits to Black former players who have been or would have been subjected

to race norming.
         Case 2:12-md-02323-AB Document 11614 Filed 01/27/22 Page 2 of 5




         For retired players who have already undergone testing in the MAF or BAP, and who may

have been affected by race norming, the Norming Agreement offers multiple avenues to qualify

for compensation. These avenues include automatic retrospective rescoring for BAP exams and

submitted MAF claims in which rescoring could lead to an award or a higher award; a new BAP

examination for almost all players that were subjected to race-based norms or demographics in the

BAP or MAF; and rescoring of MAF testing by the Neuropsychologist that performed the testing

or the AAP—all without use of racial norms or demographics. These retrospective measures are

likely to benefit many Black retired players who previously participated in the Settlement Program

but were affected by race norming. For example, among the 6,603 former players who have

attended at least one BAP appointment, see ECF 11530 at ¶ 10, a majority are estimated to have

been subjected to racial norms and are thus eligible for new BAP examinations under the Norming

Agreement. This is a group of thousands of Black former players, and even assuming very low

rates of new or increased monetary awards (lower than actually expected), the Norming Agreement

adds tremendous value to the Settlement Program. See Special Master Decision Regarding

Demographic Norm Adjustments at 7 (Aug. 20, 2020) (noting that “using race-specific norms can

be enormously consequential, and the adjustments may often make the difference in a clinician’s

determination of cognitive impairment”).1

         Going forward, the Norming Agreement also should provide substantial benefits to

thousands of Black former players over the life of the Settlement Program. The Norming

Agreement provides for the prospective elimination of race norms, and this change alone is likely

to result in a significant increase in the number of Black retired players who qualify for

compensation in the future. The Norming Agreement also proposes new specific Class-based



1
    https://www.nflconcussionsettlement.com/Docs/demographic_norms_sm.pdf.

                                                2
        Case 2:12-md-02323-AB Document 11614 Filed 01/27/22 Page 3 of 5




norms to be implemented in the future2, which—if developed and applied appropriately—should

benefit the players further and, it is hoped, contribute to developments in Neuropsychology and

other fields.3

        The Norming Agreement is complicated, and its effective implementation, including the

development of the new norms, is vital for Black former players to fully benefit from the negotiated

terms. Intervenors, Class Counsel, the NFL Parties, and former players (with the support of their

families) must closely monitor the procedures and standards of implementation to ensure fairness.

This is especially true as many Black former players are impaired and unrepresented. Intervenors

take assurance in the active role that the Court has taken throughout the norming litigation, as it

has done in overseeing all important aspects of the Settlement Program.4

        Intervenors’ Counsel have consulted extensively with attorneys active in the Settlement

Program and many players and their families concerning the Norming Agreement. While there

have been limited questions and comments concerning the Norming Agreement, to date, there have

only been joinders, and no former player has objected to its immediate approval and

implementation. There is also a letter filed on behalf of many players and their wives that supports



2
  Importantly, the Norming Agreement is intended to make it more likely that any player or player
group will qualify for an award. Intervenors expect the same would be true with respect to any
new norms developed for the players in the future.
3
  See, e.g., Jonathan Greg, NYC Creates coalition to end bias and ‘race-norming’ in medical
algorithms, ZDNET (Dec. 13, 2021), https://www.zdnet.com/article/new-york-city-health-
department-creates-coalition-to-take-on-bias-and-race-norming-in-clinical-algorithms/
(describing impacts in kidney function tests and maternal care); Ovetta Wiggins, University of
Maryland Medical System drops race-based algorithm officials say harms Black patients, The
Washington Post (Nov. 16, 2021), https://www.washingtonpost.com/local/md-politics/maryland-
hospital-black-diagnostic-test-kidneys/2021/11/17/e69edcfc-4711-11ec-b05d-
3cb9d96eb495_story.html (Black patient eligibility for transplants).
4
  Despite dismissing the underlying norming litigation, the Court recognized the importance of
the issue and the need for active participation from the stakeholders in resolving the matter by
ordering the Parties to mediation and granting Intervenors’ request to join in settlement
negotiations.

                                                 3
       Case 2:12-md-02323-AB Document 11614 Filed 01/27/22 Page 4 of 5




approval. There is overwhelming support for the Norming Agreement, and Intervenors now join

in recommending its immediate approval and implementation.

Dated: January 27, 2022                   Respectfully submitted,



                                          ___/s/ Cyril V. Smith ______
                                          Cyril V. Smith
                                          Zuckerman Spaeder LLP
                                          100 E. Pratt Street, Suite 2440
                                          Baltimore, MD 21202
                                          (410) 332-0444
                                          csmith@zuckerman.com

                                          Aitan D. Goelman
                                          Ezra B. Marcus
                                          Zuckerman Spaeder LLP
                                          1800 M Street, 10th Floor
                                          Washington, DC 20036
                                          (202) 778-1800
                                          agoelman@zuckerman.com
                                          emarcus@zuckerman.com

                                          ___/s/ J.R. Wyatt
                                          J.R. Wyatt
                                          JR Wyatt Law PLLC
                                          49 West 37th Street, 7th Floor
                                          New York, New York 10018
                                          (215) 557-2776
                                          justin@jrwyattlaw.com



                                          ___/s/ Edward S. Stone
                                          Edward S. Stone
                                          Edward Stone Law P.C.
                                          300 Park Avenue, 12th Floor
                                          New York, NY 10022
                                          (203) 504-8425
                                          eddie@edwardstonelaw.com


                                          Attorneys for Intervenors Kevin Henry and Najeh
                                          Davenport


                                             4
        Case 2:12-md-02323-AB Document 11614 Filed 01/27/22 Page 5 of 5




                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing was filed

electronically with the Clerk of the Court on the 27th day of January, 2022, to be served by

operation of the Court’s electronic filing system which sent notification of such filing via

electronic mail to all counsel of record.



Dated: January 27, 2022                     /s/ Ezra B. Marcus_   ___
                                            Ezra B. Marcus




                                              5
